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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION
SOUTHSTAR CAPITAL GROUP, I,
LLC, COTTINGTON ROAD TIC, LLC
and DURBAN ROAD TIC, LLC,

                     Plaintiffs,

v.                                                    Case No: 6:18-cv-1453-Orl-22DCI

1662 MULTIFAMILY LLC, HINES 1662
MULITFAMILY, LLC, HINES
INVESTMENT MANAGEMENT
HOLDINGS LIMITED PARTNERSHIP,
HIMH GP, LLC, HINES REAL ESTATE
HOLDINGS LIMITED PARTNERSHIP,
HINES INTEREST LIMITED
PARTNERSHIP, JCH INVESTMENTS,
INC. and URBAN OAKS BUILDERS,
LLC,

                     Defendants.


                                         ORDER
       This cause comes before the Court for consideration without oral argument on the

following motions:

       MOTION:       MOTION TO STAY DISCOVERY PENDING MOTION TO
                     DISMISS (Doc. 7)

       FILED:        September 6, 2018


       THEREON it is ORDERED that the motion is DENIED.
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       MOTION:         SECOND MOTION FOR EXTENSION OF TIME TO
                       RESPOND TO WRITTEN DISCOVERY (Doc. 9)

       FILED:          September 6, 2018


       THEREON it is ORDERED that the motion is DENIED.

       In February 2018, Plaintiffs filed this action in state court. Doc. 2. The parties engaged in

significant motion practice while the case proceeded in state court, including the filing of a motion

to stay discovery and a motion for extension of time to respond to written discovery. Docs. 7 (the

Motion to Stay); 9 (the Motion for Extension of Time).

       On September 6, 2018, one of the defendants removed the case to this Court. Doc. 1. By

doing so, the motions pending in state court, including the Motion to Stay and Motion for

Extension of Time (collectively, the Motions), were placed on the Court’s docket as pending

motions. Docs. 7; 9.

       The Motions are due to be denied for three independent reasons. First, there is nothing in

the record indicating that the parties have held a case management conference pursuant to Federal

Rule of Civil Procedure 26(f). Thus, the discovery period has not opened, Fed. R. Civ. P. 26(d)(1),

and, consequently, there is no discovery to stay and no need to extend the time to respond to

discovery served in state court. Second, the Motions do not contain a memorandum of law that

discuss the federal standards for staying discovery or obtaining an extension of time. See Docs. 7;

9. Third, the Motions do not comply with Local Rule 3.01(g). For these reasons, the Court finds

that the Motions are due to be denied.

       Accordingly, it is ORDERED that the Motions (Docs. 7; 9) are DENIED.




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       DONE and ORDERED in Orlando, Florida on October 3, 2018.



 




Copies furnished to:

Counsel of Record
Unrepresented Parties




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